Case 12-01991-NLW           Doc 6    Filed 12/19/12 Entered 12/19/12 13:48:54             Desc Main
                                     Document     Page 1 of 1

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
        TO:     JAMES J. WALDRON, CLERK           CASE NO. 12‐27319/NLW, Chapter 11
                                               IN RE: COOPERATIVE COMMUNICATIONS INC.

                    INFORMATION FOR NOTICE OF SETTLEMENT OF CONTROVERSY

        The Debtor proposes to settle an action, the nature of which is described below.
        If any creditor or other party in interest has an objection to the settlement, an objection and
request for a hearing on such objection shall be in writing, served upon the Debtor and filed with
the Clerk of the United States Bankruptcy Court.
        Such objection and request shall be filed with the Clerk and served upon the Debtor no later
than (date to be fixed by the Court).
        In the event an objection is timely filed a hearing thereon will be held on (date and location
of hearing will be supplied by the Court).
        If no objection is filed with the Clerk and served upon the Debtor on or before above date,
the settlement will be consummated as proposed on (date to be fixed by the Court).

       The nature of action and the terms of the settlement are as follows:

                                     NATURE OF ACTION
        The Debtor commenced an adversary proceeding against, J&P Holdings, Inc. Co., d/b/a
Rapps Pharmacy (“Rapps”) seeking recovery of monies alleged to be due in the sum of $13,079.35
plus attorney’s fees.

                                PERTINENT TERMS OF SETTLEMENT
        The Debtor and Rapps have reached an agreement whereby Rapps shall pay the Debtor the
total sum of $6,000.00, in three installment payments, in full satisfaction of the demand made.
The Debtor feels that this settlement is in the best interest of the estate in light of the defenses
raised and reviewed and the cost of litigation of the within action.

Request for additional information about the nature of the action or the terms of the settlement
should be directed to:
Name:                  Steven Mitnick, Esq.,
                       MITNICK & MALZBERG P.C.
Address:               P. O. Box 429
                       29 Race Street
                       Frenchtown, New Jersey 08825
Telephone:             (908) 996‐3716        Facsimile: (908) 996‐7743

Submitted By:     /s/ Steven Mitnick, Esq.        Position: Counsel to the Debtor
